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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )         Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                      DECLARATION OF VIRGINIA DOE

      I, Virginia Doe, declare the following under penalties of perjury:

      1.     I am over 18 years of age and competent to give this declaration. This

             declaration is based on my personal knowledge, information, and belief.

      2.     I am a member of the American Federation of Government Employees.

      3.     I am a contracting officer at USAID. I am responsible for awarding,

managing, and overseeing a wide range of grants and contracts to ensure they comply

with federal acquisition regulations and Agency policies.

      4.     I first heard about the USAID Shutdown from a Post on X at 6:59pm on

January 31, 2025 from Senator Chris Murphy: “Hearing that Trump is about to

double down on the constitutional crisis. A President cannot eliminate an

appropriated federal agency by executive order. That’s what a despot - who wants to

steal the taxpayers money to enrich his billionaire cabal - does. Watch USAID

tonight.” This is how all USAID staff I know first learned that the possible plan for
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USAID was to dismantle it, instead of conducting a thorough foreign aid review as

communicated.

      5.       On February 3rd at 12:41 am, an email was sent to USAID work emails

saying     building   closed.   Email   came   from   press@usaid.gov    with   reply-to

gkliger@usaid.gov. This is not the normal all-staff announcement email address or

process, and was highly unusual. One staff member in the program office I support

called the USAID Command Center approximately 6:30am to confirm the email

received was legitimate and the RRB was indeed closed to staff. The person

answering the phone did not follow the normal Command Center protocol to answer

calls, but did confirm that the building was closed to USAID employees.

      6.       Around lunchtime on February 3rd, US Direct Hire Civil Service staff

began losing access to email without any notice. By mid-afternoon all staff in the

technical bureau I support had lost access except one. We could see that staff profiles

were grayed out and the chat and video call options were disabled. One employee

called M/CIO at 12:34 PM that day and they confirmed that his account had been

disabled and said to call HR. The employee called HR at 1:21 PM and they said that

he was probably on administrative leave but they didn't know. At their request, he

shared his personal email address so that they could email him an update (they did

not email an update).

      7.       On February 6, 2025 US Direct Hire Civil Service staff in OAA began to

lose access to email without any notice in a similar fashion.




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 8.      The USAID shutdown has harmed me in the following ways:

      Damage to reputation: The rhetoric used by the Trump administration
      and DOGE to describe USAID as criminals, lazy, woke, liberals created
      huge damage to my professional and personal reputation. Having been at
      USAID for over a decade, I cannot just leave it off of my resume and I am
      concerned about potential for future employment opportunities.

      Exposure to personal liability: Being asked to terminate contracts and
      grants with absolutely no determination and in direct violation of various
      laws, for example the rehabilitation act of 1973, has opened me up to
      personal liability as the signatory contracting officer. We are told to
      terminate and when we raise legal concerns they are dismissed and we
      are told to terminate anyway or risk appearing insubordinate.


      Theft through Unpaid overtime and being asked to falsify time
      sheets: The deadlines we have been asked to meet are unmanageable and
      impossible. In order to meet them, my team is working 10-14 hour days
      and we have been instructed not to put more than 8 hours on our time
      cards. When repeatedly asked about overtime and comp time, supervisors
      ask leadership and don’t receive a reply and tell us to put our normal 8
      hours.

 9. I have the following concerns about Contracts and Agreements Being

      Cancelled:

      Concern 1: Terminating awards with no programmatic review in
      direct violation of the January 20, 2025 Executive Order entitled
      “Reevaluation and Realigning United States Foreign Aid”

      Overview of Concern: 800 awards were sent to OAA staff with instructions
      to Terminate for Convenience, then hours later told we were stop. The
      approach to the review of foreign aid can best be described as “shoot first
      ask questions later”.

      Details of Concern 1:
      On February 6th at approximately 1:30PM, Matthew Johnson sent an
      email entitled “Urgent Action: List of Awards to be Terminated”. The email
      stated “We have just received a list of awards that we have been asked to
      issue termination notices immediately. We have been asked to provide
      updates at 3pm, 5pm, and 7pm on this activity to leadership. Note that

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    there are close to 800 awards on this list.”

    Teams within OAA immediately began to mobilize to terminate awards. As
    a Contracting Officer, some of the awards on this list were perplexing and
    the sudden push to do this while nearly all of our counterparts with
    technical knowledge about where awards were in the waiver process and
    what the programmatic purpose of each award were locked out of the
    network and suspected to be on administrative leave.

    There was an approved tab with one single PEPFAR award despite the fact
    that the Agency has many different PEPFAR awards and we were told a
    waiver had been granted for PEPFAR and Emergency Food Assistance.
    There were no Emergency Food Assistance awards on the approved tab.
    Concerns were raised by Contracting Officers and Regional Legal Officers
    alike who replied all to Matthew’s email with concerns. We asked for
    clarification on the reason for the contract terminations and for
    confirmation that OAA had consulted with OMB and made a determination
    consistent with the Executive Order on realigning foreign aid. If these
    awards had not received such a determination, the termination would be in
    violation of the executive order. We received no reply to those questions.
    A contracting officer replied all to the email asking if Congressional
    notification had been made on these terminations and noted that
    Congressional notification is required when a termination will involve
    reduction in employment of 100 or more contractor employees which these
    actions would likely result. It was also asked if USAID had taken steps to
    adhere to our Congressionally authorized and funded responsibilities on
    these terminations.

    These emails received no reply from OAA leadership and our working level
    supervisors urged us to proceed with the terminations and meet the
    deadlines.

    Subsequently at approximately 6PM that same day, Nadeem Shah, Deputy
    Director of Washington Operations for OAA, sent around an email entitled
    “PLEASE PAUSE ALL AWARD TERMINATIONS” asking staff to hold off
    on all award terminations in Matthew’s previous email.
    At approximately 10:30 PM that same day, Adam Cox, Acting Deputy
    Director, Foreign Operations sent out a reminder to “please stop/pause all
    terminations until receipt of further guidance” as it seemed not everyone

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    had received the message to stand down.

    On Sunday, 2.09.25, at approximately 3pm, we received an email from Jami
    Rodgers with a list entitled “2.9.25 USAID Contract + Grants to Terminate
    (Tranche 1) v4. This list had approximately 70 contracts and 80 grants on
    it. We were told “we have received a list of awards that Secretary Rubio
    has reviewed and identified for termination for convenience”. I tried to
    access the list of 800 contracts and grants for termination we had been
    working on last week to compare it to the revised list and realized my access
    had been revoked. Speaking with my supervisors confirmed this was the
    case for everyone I work with in OAA. This made it very difficult to raise
    concerns about awards that were prematurely and unlawfully terminated.

    On Monday, February 10th at approximately 11:30AM, Jami Rodgers sent
    out an email identifying a second tranche of awards to be terminated.
    Tranche 2 had approximately 30 contracts and 60 grants on the list.
    Tranche 2 was titled “USAID Grants & Media Contracts to Cancel (Tranche
    2) v2, however many of the grants on that list had nothing to do with media.

    On February 10th, 2025 at approximately 10PM, Jami Rodgers sent out an
    email identifying a third tranche of awards to be terminated. Due dates for
    Tranche 1 and 2 were identified as COB Tuesday, February 11th in the
    email and Wednesday, February 12 COB for Tranche 3. Tranche 3 had
    approximately 100 contracts and no grants on the list. Again, for all
    tranches there are awards on this list in the waiver process.

    When my technical bureau’s access was supposedly restored yesterday, we
    quickly discovered that they do not have access to our Agency File system
    called ‘ASIST’ nor do they have access to our financial system in direct
    violation of the TRO issued the night of February 7, 2025. This makes it
    incredibly hard for them to provide programmatic information to help with
    the program review process. To date, the technical bureaus have not had
    any opportunity to provide any inputs or relevant information for the
    programmatic review. I am extremely concerned that Agency and State
    Dept leadership do not have the relevant information needed to thoroughly
    evaluate programming.

    Concern 2: Consequences of terminating certain awards violates
    federal law

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    Throughout the award termination process, some awards identified for
    termination (if terminated) would directly violate various federal
    regulations and laws. This concern was raised to OAA leadership. We were
    repeatedly instructed to act anyway and terminate. Contractors quickly
    began to respond with harshly worded emails containing references to the
    laws being broken. Ultimately a select few terminations were rescinded
    after General Counsel weighed in.

    Concern 3: Waiver review process is not being followed

    Many of the awards we were asked to terminate are in the waiver review
    process. We received this guidance last night, February 10th, from the
    Senior Procurement Executive, Jami Rodgers in the form of an FAQ:

    Question: “How do we address awards that we believe have a waiver or
    exception in place or those that ensure Agency’s compliance with statutory
    requirements?

    Answer: Please work with your relevant Mission or Bureau leadership (e.g.,
    MD or AA) to flag these items for Agency leadership. Mission or Bureau
    leadership will be responsible for raising these activities to the
    Administrator’s Office and providing a compelling justification for
    consideration for only those actions that are waived or present a grave risk
    to the Agency if discontinued. Please also note these actions in the tracker.”

    It has been impossible to work with our relevant bureau because they and
    all of their leadership had lost network access in the beginning of last week
    (week of February 10th) and were placed on administrative leave. Not one
    single person with any technical knowledge of my portfolio remained.

    Then when there was no one left to consult, the list referenced in Concern
    1 of over 800 contracts and awards to terminate was sent out and we were
    instructed to issue terminations immediately.

    Furthermore, when I raised my concern that several contracts and grants
    on the terminate list had waivers pending, I was told to terminate them
    anyway. It seems there is actually no waiver process. Not one person I have
    talked to at USAID knows how to obtain a waiver.

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 I declare under penalty of perjury that the foregoing is true and correct.

 Executed on February 11, 2025.

                                         /s/ Virginia Doe
                                         Virginia Doe




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